Case 2:10-cv-04049-JCZ-KWR Document 457 Filed 12/12/23 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CASSANDRA BERRY, ETAL. CIVIL ACTION
VERSUS NO. 10-4049
CADE BRUMLEY,ETAL. SECTION "A"(4)

MINUTE ENTRY (JS-10: 23)

On December 12, 2023, the Court convened a follow-up status conference by
telephone. The participants are listed on the attached Conference Attendance Record. '
Prior to the last status conference (held on November 2, 2023), NOLA-PS
circulated a “Foundation Draft for [a] Joint Motion.” The LDOE and Plaintiffs were
instructed to produce their own documents of a similar nature, and they have done so.

NOLA-PS is currently working to provide feedback to Plaintiffs’ November 28,
2023 response to the defendants’ proposals. Progress is being made toward the
confection of a joint motion to dismiss, and all parties will meet next week as part of
their ongoing efforts to achieve that goal.

A follow-up status conference with the Court is set for Tuesday, February 6,

2024, at 10:30 a.m. (central) BY TELEPHONE. The call-in information will be provided

to counsel via email.

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' The attached Conference Attendance Record was created at the August 22, 2023 status
conference and has been edited by the Court.

Case 2:10-cv-04049-JCZ-KWR Document 457 Filed 12/12/23 Page 2 of 2

BY TELEPHONE

CONFERENCE ATTENDANCE RECORD

DATE: 12/12/23 -

CASE NAME: Cassandra Berry, et al. v. Cade Brumley, et al.

CASE NUMBER: 10-4049 CRIMINAL
TYPE OF CONFERENCE: PRE-TRIAL sepriement(STATU3

ATTORNEYS PRESENT (Please PRINT your name, teleph-~~-
number and the.party you represent):

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Sophia Hill Plaintiffs

Lauren Winkler Plaintiffs

